                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
v.                                              )       No.:    3:13-CR-45-TAV-CCS-9
                                                )
KEVIN JASON INGRAM,                             )
                                                )
               Defendant.                       )


                            MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s motion for a sentence

reduction [Doc. 1670]. In the defendant’s motion, the defendant requests that the Court

resentence him pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendment 782

and Amendment 788 to the United States Sentencing Guidelines Manual. The government has

responded [Doc. 1682]. The government defers to the Court’s discretion whether and to what

extent to grant any such reduction, subject to the limitations of 18 U.S.C. § 3582(c)(2) and

section 1B1.10 of the United States Sentencing Guidelines Manual.

I.      Standard of Review

        “Federal courts are forbidden, as a general matter, to modify a term of imprisonment

once it has been imposed, but the rule of finality is subject to a few narrow exceptions.”

Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation and quotation marks

omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):

        [I]n the case of a defendant who has been sentenced to a term of imprisonment
        based on a sentencing range that has subsequently been lowered by the
        Sentencing Commission . . . , the court may reduce the term of imprisonment,
        after considering the factors set forth in section 3553(a) to the extent that they




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       are applicable, if such a reduction is consistent with applicable policy statements
       issued by the Sentencing Commission.

The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced to

a term of imprisonment based on a sentencing range that has subsequently been lowered by

the Sentencing Commission[.]”        United States v. Riley, 726 F.3d 756, 758 (6th Cir.

2013) (internal quotation marks and citation omitted). Second, “such reduction [must be]

consistent    with    applicable    policy     statements     issued    by    the    Sentencing

Commission.” Id. (internal quotation marks omitted). If the reviewing court determines that

the defendant is eligible for a sentence reduction, then “[t]he court may then ‘consider whether

the authorized reduction is warranted, either in whole or in part, according to the factors set

forth in § 3553(a).’”     United States v. Thompson, 714 F.3d 946, 949 (6th Cir.

2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

       In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the Court must first determine “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of the

initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and citation omitted);

see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1).             Other than substituting

Amendment 782 for the corresponding provision applicable when the defendant was originally

sentenced, the Court “shall leave all other guideline application decisions unaffected.” Id.

And the Court “shall not” reduce a defendant’s term of imprisonment to a term “less than the

minimum of the amended guideline range,” nor to a term “less than the term of imprisonment
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the defendant has already served.” Id. § 1B1.10(b)(2)(A), (C). Section 1B1.10 provides one

exception to the rule that a defendant may not receive a sentence below the amended guideline

range—namely, if the defendant originally received a below-guideline sentence “pursuant to

a government motion to reflect the defendant’s substantial assistance to authorities.” U.S.

Sentencing Guidelines § 1B1.10(b)(2)(B). In such cases, the Court may grant “a reduction

comparably less than the amended guideline range.” Id.

         In addition to these limits, section 1B1.10 states that a court must also consider the §

3553 factors and the danger to the public created by any reduction in a defendant’s sentence.

Id. at cmt. n.1(B). A court may further consider a defendant’s post-sentencing conduct. Id.

II.      Factual Background

         The defendant was convicted of conspiring to manufacture at least five grams of

methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(B), and possessing

a firearm in furtherance of a drug trafficking crime, in violation of 18 U.S.C. § 924(c) [Doc.

1317]. At the time of sentencing, the defendant was held responsible for 35 grams of

methamphetamine [Presentence Investigation Report (“PSR”) ¶¶ 25, 41]. Given the amount

of drugs for which the defendant was held responsible, the defendant’s base offense level was

30 [Id.]. The defendant received a two-level enhancement for maintaining a residence for the

purpose of manufacturing methamphetamine and a three-level reduction for acceptance of

responsibility pursuant to section 3E1.1(a) and (b), which resulted in a total offense level of

29 [Id. ¶¶ 42, 48–50]. Given the defendant’s criminal history category of I, the defendant’s

applicable guideline range was 87 to 108 months’ imprisonment [Id. ¶¶ 56, 84]. The defendant



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was also subject to a consecutive statutory mandatory minimum of 60 months for the firearms

offense [Id. ¶ 83].

       Before sentencing, the United States filed a motion for downward departure in light of

the defendant’s substantial assistance [Doc. 1317]. The Court granted that motion and

sentenced the defendant to 123 months’ imprisonment, consisting of 63 months for the drug

offense, 28 percent below the guidelines range, followed by the statutory mandatory minimum

of 60 months for the firearms offense [Id.]. According to the government, the defendant is

presently scheduled for release on January 25, 2022 [Doc. 1682 p. 3].

III.   Analysis

       Amendment 782 to the Guidelines, which became effective on November 1, 2014,

revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels the

offense levels assigned to the drug quantities described in section 2D1.1. U.S. Sentencing

Guidelines Manual App. C, amend. 782. Amendment 782 also makes corresponding changes

to section 2D1.11. Amendment 788, which became effective on November 1, 2014, as well,

identified Amendment 782 as retroactive. U.S. Sentencing Guidelines Manual App. C, amend.

788.

       Applying Amendment 782, the defendant’s revised base offense level is 28, and

affording the defendant the same adjustments the defendant originally received, the

defendant’s new total offense level is 27. U.S. Sentencing Guidelines Manual § 1B1.10(b)(1).

A total offense level of 27 and a criminal history category of I results in an amended guideline

range of 70 to 87 months’ imprisonment. Thus, the defendant was sentenced to a term of



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imprisonment based on a sentencing range that has subsequently been lowered by the

Sentencing Commission.

       Next, the Court must determine whether a sentence reduction is consistent with

applicable policy statements issued by the Sentencing Commission. See U.S. Sentencing

Guidelines Manual § 1B1.10. “[T]o satisfy the second requirement, a guidelines amendment

must have had the effect of lowering the defendant’s applicable guideline range.” Riley, 726

F.3d at 758 (internal quotation marks and citations omitted). As discussed, that is the case

here. And it would be consistent with the applicable policy statements to sentence the

defendant below the “minimum of the amended guideline range” because the defendant

previously received a below-guidelines range sentence “pursuant to a government motion to

reflect the defendant’s substantial assistance to authorities.” U.S. Sentencing Guidelines

Manual § 1B1.10(b)(2)(A), (B).

       The Court will now consider the § 3553(a) factors in determining whether and to what

extent the defendant’s sentence may be reduced. As an initial matter, the Court determines

that factors similar to the ones that applied at the defendant’s initial sentencing also apply at

this time. Even so, in regard to these factors and in the context of the instant motion, the Court

has considered the nature and circumstances of the defendant’s offense(s) and the defendant’s

history and characteristics.

       The Court has also considered the need for the sentence imposed to reflect the

seriousness of the offense, to promote respect for the law, to provide just punishment for the

offense, to afford adequate deterrence, to protect the public from further crimes of the

defendant, and to provide the defendant with needed education and training, medical care, or

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other correctional treatment.1 Further, the Court has considered the kinds of sentences

available and the sentencing range, the need to avoid unwarranted disparities, and the need to

provide restitution to any victims. See 18 U.S.C. § 3553(a). And the Court has considered the

danger to the public as the result of any reduction in the defendant’s sentence, the seriousness

of the defendant’s offenses, and the need to protect the public. See U.S. Sentencing Guidelines

Manual § 1B1.10, cmt. n.1(B)(ii).

       The government provides that it has no other information to present in opposition to a

sentence reduction under Amendment 782. The government states that it defers to the Court’s

discretion whether to grant a reduction in the defendant’s sentence, and, if so, to what extent.

It informs the Court that a 28-percent reduction below the amended guidelines range yields a

term as low as 50 months’ imprisonment. Yet the defendant remains subject to a 60-month

mandatory minimum for that offense, and to a 60-month consecutive mandatory minimum for

his firearms offense, so the lowest sentence authorized by Amendment 782 is 120 months’

imprisonment.

       Accordingly, after considering section 1B1.10 and the relevant § 3553(a) factors, the

Court finds a reduction in the defendant’s sentence to be appropriate. The Court will reduce

the defendant’s sentence in accordance with the amended guidelines range and by an amount

“comparably less than the amended guideline range.” U.S. Sentencing Guidelines Manual §

1B1.10(b)(2)(B). In making this determination, the Court is particularly influenced by the

changes in offense levels affected by Amendment 782. The Court has also taken into


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         The Court, however, is not intending to, and is not, imposing or lengthening the
defendant’s sentence to enable the defendant to complete a treatment program or otherwise
promote rehabilitation. See generally Tapia v. United States, 131 S. Ct. 2382 (2011).
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consideration the risk the defendant poses to public safety, the nature and circumstances of the

defendant’s offense(s), the defendant’s personal characteristics, criminal history, and post-

sentencing conduct.

IV.    Conclusion

       For the reasons stated herein, the defendant’s motion [Doc. 1670] is GRANTED and

the defendant’s sentence as to Count One of the indictment is REDUCED to 60 months.

Adding 60 months for Count Two of the indictment, the cumulative total is 120 months’

imprisonment. If this sentence is less than the amount of time the defendant has already

served, the sentence shall be reduced to a “time served” sentence. U.S. Sentencing Guidelines

Manual § 1B1.10(b)(2)(C).

       Except as otherwise provided in this order, all provisions of the judgment dated July

30, 2014 [Doc. 1317], shall remain in effect.

       IT IS SO ORDERED.


                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




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